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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CAO GROUP, INC.,

                Plaintiff,                           Case No.: 1:24-cv-01211

          v.                                         Judge Thomas M. Durkin

 THE INDIVIDUALS, CORPORATIONS,                      Magistrate Judge Jeannice W. Appenteng
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, and                                   JURY TRIAL DEMAND
 UNINCORPORATED ASSOCIATES
 IDENTIFIED ON SCHEDULE “A,”

                Defendants.


 PLAINTIFF’S RESPONSE TO DEFENDANTS’ EMERGENCY MOTION TO MODIFY
   THE TEMPORARY RESTRAINING ORDER AND MOTION TO MODIFY THE
           PRELIMINARY INJUNCTION AS TO THE ASSET FREEZE

        Plaintiff CAO Group, Inc., (“Plaintiff”) submits Response brief in opposition to Defendant

No. 8 GD-Whitening’s (“GD”) Emergency Opposed Motion to Modify the Temporary Restraining

Order [36] (the “Emergency Motion”) and Defendants Nos. 4 DEEPSOUND, 5 BYS Technology,

10 Carbonline, 23 Moose Store, 26 BLUE ELF, and 27 Acupress (collectively, “DEEPSOUND

Defendants”) (GD and DEEPSOUND Defendant collectively, “Appearing Defendants”)’s Motion

to Modify the Preliminary Injunction [50] (the “DEEPSOUND Motion”) (collectively, the

“Motions”).

                                  MEMORANDUM OF LAW

I.      INTRODUCTION

        Plaintiff brought this action against the Defendants identified on Schedule A [19-1] to the

Verified Amended Complaint [19] (the “Defendants”) for utility patent infringement and unjust

enrichment. The Court granted Plaintiff’s Motion for Temporary Restraining Order (“TRO”) [23]



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and Motion for Preliminary Injunction [43]. See [26] and [47], respectively. Both the TRO and

Preliminary Injunction restrained the assets of the Defendants. Appearing Defendants have filed

motions which challenge the asset restraint and Plaintiff’s unjust enrichment claim – stating that

utility patent infringement does not allow for the equitable relief of an asset restraint and that the

unjust enrichment claim is preempted by federal law. Both positions are incorrect. As outlined

further below, courts have the power to freeze assets in utility patent infringement cases and

Plaintiff’s unjust enrichment claim is not preempted by federal law.

II.      ARGUMENT

         None of the Appearing Defendants challenged Plaintiff’s Motion for Preliminary

Injunction, opting instead to challenge the asset restraint and Plaintiff’s unjust enrichment claim,

with the only challenge to the unjust enrichment claim being that it is preempted by the patent

infringement claims. Thus, the Appearing Defendants have at the very least, not challenged

Plaintiff’s assertions that 1) there is a likelihood of success on the merits, as to Plaintiff’s patent

infringement claim; 2) Plaintiff will be irreparably harmed without an injunction in place; 3) the

balance of harm favor’s the Plaintiff; and 4) the public interest is not disserved by the preliminary

injunction. See [44]. Additionally, the Appearing Defendants do not contend the merits of

Plaintiff’s unjust enrichment claim, except to say that it is preempted by Plaintiff’s claims for

patent infringement. Thus, if Plaintiff can demonstrate that conflict preemption does not apply to

its unjust enrichment claim, then Plaintiff satisfies the elements for a preliminary injunction to be

entered on the unjust enrichment claim as well, since no other challenge to the unjust enrichment

claim has been raised, despite all Defendants having an opportunity to do so.

      A. Asset Restraint is Proper in Utility Patent Cases

         1. An asset restraint is proper in utility patent cases.




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        Appearing Defendants, when stating that an asset restraint is improper in utility patent

cases, rely on the claim that utility patent claims cannot receive equitable monetary relief and that

the Court’s ruling in AJ’s Nifty Products v. the Individuals, et al., 23-cv-04131,1 is evidence that

utility patent claims do not allow for equitable monetary relief. However, the Court in AJ’s Nifty

Products relied heavily on the Supreme Court’s opinion in Grupo Mexicano de Desarrollo, S.A.

in coming to its opinion. See AJ’s Nifty Products, 23-cv-04131, [69] at pg. 11-12 (N.D. Ill. Jan. 9,

2024) (J. Kendall).

        “However, courts have interpreted Grupo Mexicano’s holding to be restricted to actions at

law where the plaintiff seeks only money damages. Accordingly, federal courts have granted

orders freezing assets where the plaintiff sought both legal and equitable relief.” Revolutions Med.

Corp. v. Medical Inv. Group, LLC, 2012 U.S. Dist. LEXIS 186815, at *15 (D. Mass. Nov. 7, 2012)

(citations to collected cases omitted); see also Quantum Corp. Funding, Ltd. v. Assist You Home

Health, 144 F. Supp. 2d 241, 250 n.9 (S.D.N.Y. 2001) (“Indeed, courts since Grupo Mexicano

have consistently found that where plaintiffs seek both equitable and legal relief in relation to

specific funds, a court retains its equitable power to freeze assets.”) (and collecting cases). As the

Second Circuit has explained, the Court has authority to freeze a defendant’s assets where the

plaintiff is “pursuing a claim for final equitable relief [ ] and the preliminary injunction is ancillary

to the final relief.” Gucci Am. v. Bank of China, 768 F.3d 122, 131 (2d Cir. 2014) (citing De Beers

Consol. Mines v. U.S., 325 U.S. 212, 219-20 (1945).

        In contrast to the breach of contract and monetary damages at issue in Grupo Mexicano,

Plaintiff’s patent infringement claims raises both equitable and legal damages. See e.g., Reebok

Int’l Ltd. v. Baker, Inc., 32 F.3d 1552, 1557 (Fed. Cir. 1994) (the patent statute provides that district


1
 Appearing Defendants refer to this case by the name ABC Products v. the Individuals, et al., however, the
case was brought under a pseudonym and the correct name for the Plaintiff is “AJ’s Nifty Products.”


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courts have authority to grant injunctive relief “to preserve the legal interests of the parties against

future infringement which may have market effects never fully compensable in money”)

abrogated on other grounds, eBay Inc. 547 U.S. 388, as recognized in Voile Mfg. Corp. v.

Dandurand, 551 F. Supp. 2d 1301, 1305 (D. Utah 2008); see also Hybritech, Inc. 849 F.2d 1457.

Moreover, the assets to be frozen (i.e., the balance in Appearing Defendants’ marketplace

accounts) are directly tied to the claims of infringement and the equitable relief sought for that

infringement because, as alleged in the Verified Amended Complaint, it is through those accounts

that Appearing Defendants conducted their infringement. See e.g., [19] at ¶¶ 3, 20, and 33. In other

words, Plaintiff has not sought a freeze against an unrelated asset simply to provide funds for a

later legal remedy. Rather, Plaintiff has sought a freeze to protect the relief sought against the

specific frozen assets contained in the infringing account.

        2. The Courts in this District are split on whether an asset restraint is proper in utility
           patent infringement cases.

        Courts, including Courts in this district, disagree with the Court’s ruling in AJ’s Nifty

Products. As a bit of procedural background, Plaintiff’s Motion for Entry of a Preliminary

Injunction in AJ’s Nifty Products was filed on August 2, 2023. See 23-cv-04131, [28]. Attorneys

Adam Urbanczyk and Brian Swift of AU LLC represented the Defendant, BonWeiry, in its

opposition of Plaintiff’s Motion and filed a Response Brief. See 23-cv-04131, [34], filed on August

6, 2023. However, the Court’s ruling Plaintiff’s Motion for Entry of a Preliminary Injunction, the

opinion cited by the Defendant, was not released until January 9, 2024. See AJ’s Nifty Products,

23-cv-04131, [69].

        However, between August 6, 2023 and January 9, 2024, counsel for Plaintiff (the same

counsel for Plaintiff in this matter) filed Complaint for utility patent infringement on behalf of

Hong Kong Xingtai International Trade Co. Ltd. and was granted a TRO in that case. See Hong



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Kong Xingtai Int’l Trade Co. Ltd. v. the Individuals, et al., 23-cv-15836, [19] (N.D. Ill. Nov. 17,

2023). The very same counsel for BonWeiry filed an Emergency Motion to Modify Asset Restraint

in this subsequent case, prior to a Motion for Entry of a Preliminary Injunction. See Hong Kong

Xingtai Int’l Trade Co. Ltd., 23-cv-15836, [50]. Both the Emergency Motion to Modify Asset

Restraint, 23-cv-15836 [50], and BonWeiry’s Response in Opposition to Plaintiff’s Motion for

Entry of Preliminary Injunction, 23-cv-04131 [34], share nearly identical arguments regarding why

an asset freeze in utility patent cases is improper, with the Emergency Motion to Modify Asset

Restraint citing some additional caselaw. Compare Hong Kong Xingtai Int’l Trade Co. Ltd. v. the

Individuals, et al., 23-cv-15836, [50] at pgs. 3-5 to AJ’s Nifty Products, 23-cv-04131, [34] at pgs.

6-8.

       Despite making nearly identical arguments regarding the asset restraint, the Court in Hong

Kong Xingtai International Trade Co. Ltd., did not dissolve the asset restraint as to the Defendants

represented by AU LLC. See Hong Kong Xingtai Int’l Trade Co. Ltd. v. the Individuals, et al., 23-

cv-15836, [67] (The Court entered a Minute Entry where the TRO was dissolved as to Defendants

who challenged Plaintiff’s likelihood of success on the merits and, with Plaintiff’s agreement,

modified the asset restraint as to AU LLC’s client as to restrain only the amount in infringing sales

(approximately $870,000.00 of the $2.6 million dollars restrained, see [59]), but kept the asset

restraint in place as to all remaining defendants) (J. Pallmeyer). Here, Appearing Defendants made

no such challenge as to the likelihood of success on the merits.

       Additionally, other Court’s in this jurisdiction have allowed for asset restraints in utility

patent cases. See, e.g., 1348671 B.C. LTD. v. The Individuals, et al., 23-cv-04002 (N.D. Ill. Aug.

22, 2023) (J. Rowland); Hong Kong Xingtai International Trade Co. Ltd. v. The Individuals, et al.,

23-cv-15481 (N.D. Ill. Mar. 12, 2024) (J. Maldonado) (unpublished); and CAO Group, Inc. v. The




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Individuals, et al., No. 23-cv-00901 (N.D. Ill. Mar. 27, 2024) (J. Maldonado) (unpublished). In

fact, other jurisdictions agree with this practice as well. See Zhujitop Hardware Tools Co., LTD v.

Individuals, et al., 2021 U.S. Dist. LEXIS 212094 at 9 (S.D. Fla. Aug. 2, 2021); Qin v. P'ships &

Unincorporated Ass'ns on Schedule “A,” 2022 U.S. Dist. LEXIS 3298 at 13 (W.D. Tex. Jan. 7,

2022); and XYZ Corp. v. Individuals, P'Ships & Unincorporated Ass'ns Identified in Schedule “A,”

2024 U.S. Dist. LEXIS 16590 at 10 (S.D. Fla. Jan. 30, 2024).

   B. The Court Can Look to Defendants’ Being Foreign Infringers in Determining
      Whether an Asset Restraint is Appropriate.

       As Plaintiff asserted in its Memorandum in Support of its Motion for Entry of a Temporary

Restraining Order [24], the Appearing Defendants are permitted a certain level of anonymity and

evasiveness, are operating through an online marketplace while being located abroad, and, without

an asset restraint in place, could move assets to accounts outside of this Court’s jurisdiction. See

[24] at pg. 11. These concerns also give rise to why an asset restraint would be proper in the current

circumstances.

       “Plaintiff raises its concern that Defendants are foreign individuals and entities that reside

in foreign jurisdictions with no presence in the United States, making any attempt to collect a

monetary judgment unlikely. ECF No. 19 at 7. This Court, along with countless others,

agrees. See Bosch, 659 F.3d at 1156 (reversing denial of permanent injunction where the likely

availability of monetary damages was in question, citing O2 Micro Int'l Ltd. v. Beyond Innovation

Tech. Co., No. 2:04-cv-0032, 2007 U.S. Dist. LEXIS 25948, 2007 WL 869576, at *2 (E.D. Tex.

Mar. 21, 2007), where ‘“all three defendants are foreign corporations and that there is little

assurance that [plaintiff] could collect monetary damages”’); Aevoe Corp. v. AE Tech Co., Ltd.,

No. 2:12-cv-0053, 2012 U.S. Dist. LEXIS 30085, 2012 WL 760692, at *5 (D. Nev. Mar. 7, 2012)

(‘[A] finding of irreparable harm was not clearly [*8] erroneous because it also found that since



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AE Tech is a foreign corporation, money damages would be insufficient.’); Bushnell, Inc. v.

Brunton Co., 673 F. Supp. 2d 1241, 1263 (D. Kan. 2009) (‘the prospect of collecting money

damages from a foreign defendant with few to no assets in the United States tips in favor of a

finding of irreparable harm’); Nike, Inc. v. Fujian Bestwinn (China) Indus. Co., 166 F. Supp. 3d

1177, 1179 (D. Nev. 2016) (‘[B]ecause Bestwinn has no presence in the United States, it may be

difficult or impossible for NIKE to recover a money judgment against Bestwinn’).”Qin v. P'ships

& Unincorporated Ass'ns on Schedule “A,” 2022 U.S. Dist. LEXIS 3298 at 7-8 (W.D. Tex. Jan.

7, 2022).

       Even now, the Appearing Defendants offer little to no identifiable information. Based on

the information available to the Court, it is unclear whether GD is part of a larger group of

infringers, including other Defendants – based upon GD’s name and the infringing product it offers

for sale, and if the DEEPSOUND Defendants are a single entity or multiple entities. An asset

restraint ensures participation in this legal process, with recourse for both the Plaintiff and the

Appearing Defendants. Without an asset restraint in place, Appearing Defendants could move their

assets and leave Plaintiff with little to no recourse or remedy for Appearing Defendants’ infringing

activity. See Hong Kong Xingtai Int’l Trade Co. Ltd. v. the Individuals, et al., 23-cv-15836, [137]

and [164] (Motions to Withdraw as Counsel, citing that Defendants were “unresponsive and

uncooperative,” after the asset restraint was lifted).

       Thus, even if this Court took the approach of the Court in AJ’s Nifty Products, an asset

restraint might still be appropriate. In AJ’s Nifty Products, Court ruled that the Plaintiff would only

be entitled to a reasonable royalty. See 23-cv-04131, [69] at 11-12 (citing 35 U.S.C. § 284)

(additional citations omitted). To determine reasonable royalty damages, a “willing licensor-

willing licensee” approach is used. This approach attempts to ascertain the royalty upon which the




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parties would have agreed had they successfully negotiated an agreement just before infringement

began. See Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F.Supp. 1116, 1120 (S.D.N.Y.

1970); see also Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1554 n.13 (Fed. Cir. 1995) (en banc);

Radio Steel & Mfg. Co. v. MTD Prods., Inc., 788 F.2d 1554, 1557 (Fed. Cir. 1986) (“The

determination of a reasonable royalty, however, is based not on the infringer’s profit, but on the

royalty to which a willing licensor and a willing licensee would have agreed at the time the

infringement began”).

          While this analysis is often hypothetical, that is not the case here. As has been mentioned,

Plaintiff has an active licensing agreement in place with Proctor & Gamble. In that instance, two

sophisticated parties, which include the Plaintiff and some of the relevant patentable subject

matter, engaged in an actual negotiation to determine the value of Plaintiff’s Patents. While

Plaintiff cannot disclose the amount in a public filing, Plaintiff can state that it is a fully paid-up

license (i.e., the license was paid for in full, up front) and was worth many times more than what

is restrained in the Appearing Defendants’ currently restrained financial accounts. 2 It was not a

royalty based merely on product sales. Should the Court require, Plaintiff would provide the Court

with proof for an in camera inspection.

      C. Plaintiff’s Claim for Unjust Enrichment is not Pre-empted by Federal Law.

          Plaintiff also asserts a claim for unjust enrichment against the Defendants, making it

distinguishable from many of the previously cited cases – including AJ’s Nifty Products, 23-cv-

04131. Appearing Defendants argue that this claim does not have a likelihood of success on the

merits as it is barred by conflict preemption due to Plaintiff’s patent infringement claims, merely

because it stems from the infringement of Plaintiff’s Patents.



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    Counsel for GD has reviewed the aforementioned agreement.


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       Federal patent law does not provide for explicit preemption. Univ. of Colo. Found., Inc. v.

Am. Cyanamid Co., 342 F.3d 1298, 1305 (Fed. Cir. Sep. 3, 2003). However, state law cannot offer

“patent-like protection to intellectual creations that would otherwise remain unprotected as a

matter of federal law.” Id (citing Bonito Boats v. Thunder Craft Boats, 489 U.S. 141, 156 (1989);

and Midwest Indus., Inc. v. Karavan Trailers, Inc., 175 F.3d 1356, 1363 (Fed. Cir. May 5, 1999).

However, this does not prevent states from offering additional protections to federally protected

intellectual property, nor does the Supremacy Clause, by which preemption is derived, “require

full consonance between federal and state intellectual property protections.” Univ. of Colo. Found.,

Inc., 342 F.3d at 1306 (citing Goldstein v. California, 412 U.S. 546 (1973) (“holding that federal

copyright law does not preempt state copyright law providing greater protection); and Kewanee v.

Bicron, 416 U.S. 470 (1974) (“holding that federal patent law does not preempt state trade secret

law protection unpatentable processes”)).

       While Defendants do certainly infringe Plaintiff’s Patents, the issue under Plaintiff’s unjust

enrichment claim is not about Plaintiff’s damages suffered as a result of the infringement. Rather,

it is how Defendants have traded upon the reputation, good will, research, and/or development of

Plaintiff’s Products and eroding Plaintiff's carefully curated distribution network and disrupting its

marketing strategies. Plaintiff’s Products are not easily sold directly to users who would use the

products at home. Those users often find Plaintiff’s Products through Plaintiff’s licensees and/or

through Plaintiff’s distributor. However, Plaintiff’s Products are marketed towards dental offices,

as Plaintiff also sells high end dental equipment, along with Plaintiff’s Products, on its website

(https://caogroup.com/). Defendants, by selling Unauthorized Products, traded upon the

reputation, good will, research, and/or development associated with Plaintiff’s Products, including

and especially the research and development it took to make teeth whitening strips which use a




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peroxide bleaching agent, a PVP-thickening agent, and other characteristics which should be

exclusively associated with Plaintiff’s Products.

       However, due to Defendants’ infringing conduct, Plaintiff’s carefully curated distribution

network and marketing strategies are disrupted, with attention, online traffic, and eventually sales

being drawn away from Plaintiff’s website and from its distributor and licensees. Instead, that goes

to the Defendants, who use this opportunity to also sell other dental hygiene related products in

their stores, such as Defendant No. 27 Acupress, who is selling a travel charger for an electric

toothbrush. See Fig. 1 (below).




                   Fig. 1 - Defendant No. 27 Acupress (A32SEX6CGLBPEK)

       Clearly, Plaintiff is not seeking to use unjust enrichment to merely offer “patent-like”

protections to its intellectual property. Rather, it is seeking to remedy the irreparable and

immeasurable harm done to it by Defendants, through Defendants’ use of the reputation, good

will, research, and/or development associated with Plaintiff’s Products – qualities which should

have remained exclusive to Plaintiff’s Products.

       Additionally, Appearing Defendants’ argument regarding utility patent infringement

claims being unable to seek equitable remedies, such as in AJ’s Nifty Products, cuts against them.


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If Appearing Defendants are correct, that utility patent infringement claims are not entitled to

equitable remedies, despite Plaintiff suffering immediate and immeasurable injuries (as was the

case in AJ’s Nifty Products, 23-cv-04131, [67] at pgs. 9-11), then the additional non-patent like

protections offered by an Illinois state common law claim, such as unjust enrichment, could not be

preempted by federal law. However, even if the utility patent infringement claims can still seek

equitable remedies, such as an asset restraint,, as Plaintiff contends and other Courts have agreed,

then Plaintiff can still assert its unjust enrichment claim, as the protections sought are in regards

to the reputation, good will, research, and/or development associated with Plaintiff’s Products, and

not to seek intellectual property protections that are otherwise unprotected by federal law.

   D. Joinder is Proper

       The DEEPSOUND Defendants briefly assert that joinder is improper in the present case.

However, that is not relevant when determining whether the Court should grant an asset freeze. In

fact, the DEEPSOUND Defendants demonstrate why these cases are brought jointly to begin with,

as there is seemingly nothing that would indicate that these defendants are interconnected, aside

from some minor similarities – such as the infringing products they sell. However, it is still unclear

how the DEEPSOUND Defendants are connected to one another, as these Defendants have not

filed a notification of affiliates explaining their connection to one another. At the very least,

Plaintiff should be allowed to take limited discovery to determine the structure and connection of

these entities, before determining if they were truly improperly joined.

       Additionally, “[m]isjoinder of parties is not a ground for dismissing an action” Fed. R. Civ.

P. 21. Instead, the remedy is to sever claims against a party. Id. The question of whether to sever

claims in a patent case is governed by Federal Circuit law. See In re EMC Corp., 677 F.3d 1351,

1354 (Fed. Cir. 2012) (“joinder in patent cases is based on an analysis of the accused acts of




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infringement, and this involves substantive issues unique to patent law”). Should any of the

Appearing Defendants be severed, Plaintiff would ask that those claims be separated from this case

under a new case number without being dismissed and refiled. Doing so promotes judicial

efficiency because each separate case would not need to start over from scratch. Rather, the Court’s

prior Orders, notably the Court’s Orders regarding alternative service, the TRO, and Preliminary

Injunction Order should be maintained in the new cases.

       Lastly, because the limitations on joinder in the Patent Act as amended by the American

Invents Act are waivable, it would be improper to sever the claims against any of the non-moving

defendants. See 35 U.S.C. § 299(c) (“A party that is an accused infringer may waive the limitations

set forth in this section with respect to that party”). Consequently, the only parties that could be

severed are the DEEPSOUND Defendants who have attempted to raise the issue. If any one or

more of the Appearing Defendants are severed, the Court should then combine the separate cases

for pre-trial proceedings. See e.g., Richmond v. Lumisol Elec. Ltd., Nos. 13-1944 (MLC); 13-1949

(MLC); 13-1950 (MLC); 13-1951 (MLC); 13-1952 (MLC); 13-1953 (MLC); 13-1954 (MLC); 13-

1957 (MLC); 13-1958 (MLC); 13-1959 (MLC); 13-1960 (MLC); and 13-2916 (MLC), 2014 U.S.

Dist. LEXIS 90541, at *20-21 (D.N.J. July 3, 2014) (“Following severance, the parties are directed

to consult with the Magistrate Judge to group the lawsuits into different categories based on the

alleged relationships between the parties and the level of commerce at which each defendant

operates and then stay the actions against the downstream retailer defendants subject to

indemnification from upstream defendants”). The Patent Act only prevents consolidation of

separate cases for trial, not for any pretrial purposes. See 35 U.S.C. § 299(a).

   E. DEEPSOUND Defendants Have Sold Infringing Products.

       The DEEPSOUND Defendants claims there are no sales of infringing products from any

of their accounts. However, based on third-party production, Plaintiff can confirm that there are


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infringing sales. Additionally, Amazon only provides sales information for the ASINs identified

on Schedule A [19-1] which are directly linked to a Merchant ID and does not provide infringing

sales data for any other ASINs listed in the Schedule A as to another Merchant ID. So, even as to

the ASINs that Plaintiff has been able to identify as infringing, it is unclear if DEEPSOUND

Defendants sold any other infringing products aside from the ones linked to their Merchant IDs as

identified on Schedule A to the Verified Amended Complaint [19-1].

       At this time, it is too premature to determine whether DEEPSOUND Defendant’s

infringing sales are limited only to those identified by Amazon in its production to Plaintiff in

response to the TRO or if additional infringing sales occurred. Additionally, without consulting an

expert as to Plaintiff’s unjust enrichment claim, it would also be difficult to ascertain the

approximate damages Plaintiff has suffered at the hands of the DEEPSOUND Defendants at this

time. As such, the current asset restraint is appropriate, until at least, additional discovery can be

conducted.

III.   CONCLUSION

       In view of the foregoing, Plaintiff respectfully requests that this Court deny Defendant No.

8 GD-Whitening’s Emergency Opposed Motion to Modify the Temporary Restraining Order [36]

and Defendants Nos. 4 DEEPSOUND, 5 BYS Technology, 10 Carbonline, 23 Moose Store, 26

BLUE ELF, and 27 Acupress’ Motion to Modify the Preliminary Injunction [50].


DATED: May 6, 2024                                    Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system this May 6, 2024. Any other counsel of record will be served by electronic and/or
first-class mail.

                                                   /s/ Nicholas S. Lee
                                                   Nicholas S. Lee




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